Case 1:05-cv-01098-.]DT-STA Document 8 Filed 05/10/05 Page 1 of 3 Page|D 1

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FOR THE wEerRN DISTRICT oF TENNESSE_E "’/@ 4 @C`
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y@igeOfé/:g~& 5?0 _ 2
HENRY C. CAsT, ) f ,;I_/`{-H @Srr/C,,
Plaintiff`, ) '
)
vs. ) No. 05-109s-T
)
COMMISSIONER OF )
soclAL sECURiTY, )
)
Defendant. )

ORDER REGARDIN§i BRIEFING SCHEDULE
This is an action for review of a decision of the Cornrnissioner of Social Security
denying Plaintiff‘s application for benefits under the Social Security Act.
The following briefing schedule is hereby established in this matter:

Plaintiffs brief in support of this appeal must be filed within 30 days of the
date of this order.

Defendant‘s brief in opposition to this appeal must be filed within 30 days after
service of Plaintiffs brief.

If` Plaintiff wishes to file a reply brief, such brief must be filed within 10 days after
service of Defendant‘s brief.

Failure of either party to comply with this order will result in appropriate sanctions,
which may include consideration of the case without regard to that party‘s brief, or dismissal

of the action.

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Case 1:05-cv-01098-.]DT-STA Document 8 Filed 05/10/05 Page 2 of 3 Page|D 2

Oral argument Will be heard in this matter only if requested by the parties and deemed

necessary by the court.

IT IS SO ORDERED.

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JA S D. 'I`ODD
UN ED STATES DISTRICT ]UDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 1:05-CV-01098 was distributed by faX, mail, or direct printing on
May 10, 2005 to the parties listed.

 

 

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Honorable .1 ames Todd
US DISTRICT COURT

